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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS

 BASSFIELD IP LLC,
                                                       C.A. No. 6:21-cv-1380
                        Plaintiff,
    v.                                                 JURY TRIAL DEMANDED

 DENNY’S CORPORATION,                                  PATENT CASE

                        Defendant.

                ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT

         Plaintiff Bassfield IP LLC files this Original Complaint for Patent Infringement against

Denny’s Corporation and would respectfully show the Court as follows:

                                        I. THE PARTIES

         1.     Plaintiff Bassfield IP LLC (“Bassfield” or “Plaintiff”) is a Texas limited liability

company having an address at 6009 W Parker Rd, Ste 149 - 1086, Plano, TX 75093.

         2.     On information and belief, Defendant Denny’s Corporation (“Defendant”) has

places of business at 1601 IH35 N, Austin, Texas 78702, 7100 N Interstate Hwy 35, Austin, Texas

78752, 2320 Interregional Hwy, Austin, Texas 78704, 7619 E Ben White Blvd, Austin, Texas

78741, 13216 N IH-35 SVRD SB, Austin Texas 78753, 13200 N Interstate 35 Frontage Rd, Austin,

TX 78753, and 2409 S New Rd, Waco, TX 76711. Defendant has a registered agent at The

Corporation Trust Company, Corporation Trust Center, 1209 Orange S, Wilmington, DE 19801.

                               II. JURISDICTION AND VENUE

         3.     This action arises under the patent laws of the United States, Title 35 of the United

States Code. This Court has subject matter jurisdiction of such action under 28 U.S.C. §§ 1331

and 1338(a).




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        4.     On information and belief, Defendant is subject to this Court’s specific and general

personal jurisdiction, pursuant to due process and the Texas Long-Arm Statute, due at least to its

business in this forum, including at least a portion of the infringements alleged herein, at 1601

IH35 N, Austin, Texas 78702, 7100 N Interstate Hwy 35, Austin, Texas 78752, 2320 Interregional

Hwy, Austin, Texas 78704, 7619 E Ben White Blvd, Austin, Texas 78741, 13216 N IH-35 SVRD

SB, Austin Texas 78753, 13200 N Interstate 35 Frontage Rd, Austin, TX 78753, and 2409 S New

Rd, Waco, TX 76711.

        5.     Without limitation, on information and belief, within this state, Defendant has used

the patented inventions thereby committing, and continuing to commit, acts of patent infringement

alleged herein. In addition, on information and belief, Defendant has derived revenues from its

infringing acts occurring within Texas. Further, on information and belief, Defendant is subject

to the Court’s general jurisdiction, including from regularly doing or soliciting business, engaging

in other persistent courses of conduct, and deriving substantial revenue from goods and services

provided to persons or entities in Texas. Further, on information and belief, Defendant is subject

to the Court’s personal jurisdiction at least due to its sale of products and/or services within Texas.

Defendant has committed such purposeful acts and/or transactions in Delaware such that it

reasonably should know and expect that it could be haled into this Court as a consequence of such

activity.

        6.     Venue is proper in this district under 28 U.S.C. § 1400(b). On information and

belief, Defendant has businesses in this district at 1601 IH35 N, Austin, Texas 78702, 7100 N

Interstate Hwy 35, Austin, Texas 78752, 2320 Interregional Hwy, Austin, Texas 78704, 7619 E

Ben White Blvd, Austin, Texas 78741, 13216 N IH-35 SVRD SB, Austin Texas 78753, 13200 N

Interstate 35 Frontage Rd, Austin, TX 78753, and 2409 S New Rd, Waco, TX 76711. On




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information and belief, from and within this District Defendant has committed at least a portion of

the infringements at issue in this case.

        7.          For these reasons, personal jurisdiction exists, and venue is proper in this Court

under 28 U.S.C. § 1400(b).

                                    III. COUNT I
              (PATENT INFRINGEMENT OF UNITED STATES PATENT NO. 6,641,053)

        8.       Plaintiff incorporates the above paragraphs herein by reference.

        9.       On November 4, 2003, United States Patent No. 6,641,053 (“the ‘053 Patent”) was

duly and legally issued by the United States Patent and Trademark Office. The ‘053 Patent is titled

“Foreground/Background Document Processing with Dataglyphs.” A true and correct copy of the

‘053 Patent is attached hereto as Exhibit A and incorporated herein by reference.

        10.      Bassfield is the assignee of all right, title, and interest in the ‘053 Patent, including

all rights to enforce and prosecute actions for infringement and to collect damages for all relevant

times against infringers of the ‘053 Patent. Accordingly, Bassfield possesses the exclusive right

and standing to prosecute the present action for infringement of the ‘053 Patent by Defendant.

        11.      The invention in the ‘053 Patent relates to the field of systems and methods for

creating documents containing encoded data and human-readable data, and to devices and methods

for encoding and decoding documents containing machine readable text overlaid with human-

readable content and graphics. (Ex. A at 1:31-36). The object of the invention is to provide an

efficient method for integrating machine-readable information with human-readable information.

(Id. at 2:38-49).

        12.      Prior art electronic document processing systems included input scanners for

capturing the human readable information allowing users to manipulate electronic documents and

printers for producing the manipulated hardcopy versions of the document. (Id. at 1:40-47). These



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systems were typically connected to convenient to access mass memory and local area networks

allowing for multiple users to access the electronic documents (Id. at 1:47-54).

       13.     At the time of invention, no universal interchange standard for losslessly

interchanging structured electronic documents existed, with plain text ASCII encoding becoming

the de facto interchange standard, however it was limited in its utility for representing structed

electronic documents. (Id. at 1:57-65). Additional methods existed but were system specific,

employing embedded control codes for supplementing ASCII encodings to define the logical

structures of electronic documents allowing such documents to be formatted in accordance with

selected variables such as font styles and sizes, line and paragraph spacings, and more. (Id. at 1:65-

2:9). Therefore, it was important when transporting electronic documents from one system to

another was the ability of the target system to interpret the encoding format that the source system

used. (Id. at 2:17-22).

       14.     Prior art methods for transporting documents included printing digital data, on a

recording medium like plain paper, so optical readers could upload the data into electronic

document processing systems. (Id. at 2:30-38). This method would have the machine-readable

codes printed at various locations on one hardcopy and on a separate copy, the human-readable

content of the same document at a separate location. (Id. at 2:38-41). The approach of having

machine readable content at separate locations from human-readable content has its drawbacks

because the amount of machine-readable information that may be stored on a page is more limited

since the areas for storing machine-readable information may not overlap with the human-readable

information. (Id. at 2:51-55). Therefore, the inventors recognized the importance of could better

integrate machine-readable content with human-readable content in an efficient manner. (Id. at

3:7-23). With that in mind, the inventors created a method using background glyph codes with an




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integrated human-readable image that does not interfere with the decoding of the glyph codes. (Id.

at 3:12-23).

       15.      Direct Infringement. Upon information and belief, Defendant has been directly

infringing claim 1 of the ‘053 Patent in Texas, and elsewhere in the United States, by performing

a method for producing machine-readable and human-readable documents Defendant’s composite

machine-readable and human read-able document (“Accused Instrumentality”):




       16.      As shown below, Denny’s uses the Accused Instrumentality in their restaurants for

displaying menus. The Denny’s QR code is composed of machine readable (e.g., the glyph blocks

that make up the QR code) and human readable components (e.g., the Denny’s text in the middle

of the QR code).




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       17.     Denny’s generates a background image on a substrate (e.g., the printing of the

scannable portion of a QR code on a menu/sticker/etc.), said background image comprising coded

glyphtone cells based on grayscale image data values, each of said halftone cells comprising one

of at least two distinguishable patterns (e.g., the scannable part of the QR code is represented in

grayscale wherein each cell is either black or white).

       18.     Denny’s composites the background image (e.g., the scannable portion of the QR

code) with a second image (e.g., the Denny’s logo composited on top of the scannable QR code)

such that two or more adjacent visible halftone cells may be decoded (e.g., the visible cells of the

QR code surrounding the composited logo are still scannable for decoding) and the second image

may be viewed (e.g., the Denny’s logo is viewable).

       19.     Plaintiff has been damaged as a result of Defendant’s infringing conduct.

Defendant is thus liable to Plaintiff for damages in an amount that adequately compensates

Plaintiff for such Defendant’s infringement of the ‘053 Patent, i.e., in an amount that by law cannot




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be less than would constitute a reasonable royalty for the use of the patented technology, together

with interest and costs as fixed by this Court under 35 U.S.C. § 284.

       20.     The claims of the ‘053 Patent are method claims to which the marking requirements

are not applicable. Plaintiff has therefore complied with the marking statute.

                                      V. JURY DEMAND

       Plaintiff, under Rule 38 of the Federal Rules of Civil Procedure, requests a trial by jury of

any issues so triable by right.

                                  VI. PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests that the Court find in its favor and against

Defendant, and that the Court grant Plaintiff the following relief:

       a.      Judgment that one or more claims of United States Patent No. 6,641,053 have been
               infringed, either literally and/or under the doctrine of equivalents, by Defendant;

       b.      Judgment that Defendant account for and pay to Plaintiff all damages to and costs
               incurred by Plaintiff because of Defendant’s infringing activities and other conduct
               complained of herein, and an accounting of all infringements and damages not
               presented at trial;

       c.      That Plaintiff be granted pre-judgment and post-judgment interest on the damages
               caused by Defendant’s infringing activities and other conduct complained of
               herein; and

       d.      That Plaintiff be granted such other and further relief as the Court may deem just
               and proper under the circumstances.




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December 30, 2021                     Respectfully Submitted,

                                       /s/ David R. Bennett
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